2:21-cv-02212-CSB-EIL # 10   Page 1 of 8
                                                                 E-FILED
                                Tuesday, 21 December, 2021 10:31:53 AM
                                            Clerk, U.S. District Court, ILCD
2:21-cv-02212-CSB-EIL # 10   Page 2 of 8
2:21-cv-02212-CSB-EIL # 10   Page 3 of 8
2:21-cv-02212-CSB-EIL # 10   Page 4 of 8
2:21-cv-02212-CSB-EIL # 10   Page 5 of 8
2:21-cv-02212-CSB-EIL # 10   Page 6 of 8
2:21-cv-02212-CSB-EIL # 10   Page 7 of 8
2:21-cv-02212-CSB-EIL # 10   Page 8 of 8
